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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC,           §
                                      §
      Plaintiff,                      §                      Case No:
                                      §
vs.                                   §                      PATENT CASE
                                      §
ACTIONTEC ELECTRONICS, INC.           §
                                      §
      Defendant.                      §
_____________________________________ §


                                           COMPLAINT

       Plaintiff Symbology Innovations, LLC (“Plaintiff” or “Symbology”) files this Complaint

against Actiontec Electronics, Inc. (“Defendant” or “Actiontec”) for infringement of United

States Patents No. 8,424,752, No. 8,651,369, and No. 8,936,190 (hereinafter “the ‘752 Patent,”

“the ‘369 Patent,” and “the ‘190 Patent”).

                               PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with its principal office located at

1400 Preston Road, Suite 400, Plano, Texas 75093.

       4.      On information and belief, Actiontec Electronics, Inc. is a corporation organized

and existing under the laws of the State of California, with a place of business located at 760 N




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Mary Ave., Sunnyvale, CA 94085. Defendant can be served with process by serving its

registered agent for service of process in the State of Texas, CT Corporation System, 1999 Bryan

St., Suite 900, Dallas, TX 75201-3136 USA.

       5.         This Court has personal jurisdiction over Defendant because Defendant has

committed, and continues to commit, acts of infringement in the state of Texas, has conducted

business in the state of Texas, and/or has engaged in continuous and systematic activities in the

state of Texas.

       6.         Upon information and belief, Defendant’s instrumentalities that are alleged

herein to infringe were and continue to be used, imported, offered for sale, and/or sold in the

Eastern District of Texas.

                                               VENUE

       7.         Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. §§ 1391(c)

and 1400(b) because Defendant is deemed to reside in this District. In addition, and in the

alternative, Defendant has committed acts of infringement in this District.

                                  COUNT I
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,424,752)

       8.         Plaintiff incorporates paragraphs 1 through 7 herein by reference.

       9.         This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       10.        Plaintiff is the owner by assignment of the ‘752 Patent with sole rights to enforce

the ‘752 Patent and sue infringers.

       11.        A copy of the ‘752 Patent, titled “System and Method for Presenting Information

about an Object on a Portable Electronic Device,” is attached hereto as Exhibit A.

       12.        The ‘752 Patent is valid, enforceable, and was duly issued in full compliance with



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Title 35 of the United States Code.

       13.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least Claim 1, of the ‘752 Patent by using and/or incorporating

Quick Response Codes (QR codes) in literature describing, accompanying, or otherwise

illustrating its products in a manner covered by one or more claims of the ‘752 Patent. Defendant

has infringed and continues to infringe the ‘752 Patent in violation of 35 U.S.C. § 271.

       14.     On information and belief, Defendant has, at least through internal testing, used

or incorporated QR codes in product literature, associating such QR codes with products and/or

services. One specific example of Defendant’s activity involves the use of QR codes in product

literature for its WCB3000N wireless network extender and Actiontec WiFi Assistant app.

       15.     For example, on information and belief, Defendant has at least internally tested

the functionality of its QR codes in connection with its product literature. On information and

belief, Defendant has captured a digital image of a QR code associated with product literature,

an example of which is shown below.




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        16.    Defendant’s product literature informs users that they can scan the QR through

their smartphone to obtain product information and download the Actiontec WiFi Assistant app.

On information and belief, at least through internal testing, Defendant has used a digital image

capturing device of a portable electronic device, such as the camera component of a smart phone

for example, to capture a digital image of the QR code associated with its products and product

literature.

        17.    On information and belief, Defendant’s capture of the digital image is processed

by scanning technology loaded onto the portable electronic device. The scanning technology

detects symbology (for example, a pattern within the QR code) associated with an object (for

example, the QR code itself). On information and belief the scanning technology is used to

decode the symbology to obtain a decode string. The decode string is sent to a remote server for

further processing. Based on the decode string, the remote server sends information associated

with the QR code, which is received by the user of the portable electronic device and displayed

on a display associated with the portable electronic device.

        18.    For example, if a user scans a QR code associated with Defendant’s product

literature, scanning technology decodes the pattern of the QR code to obtain a decode string and

sends the decode string to a remote server. The server returns information associated with the

QR code. In this example, the information received by the user and displayed on the portable

electronic device is information about Defendant’s products, such as the Actiontec WiFi

Assistant app and Defendant’s network extenders, and includes a website providing additional

information about the products. The information is illustrated, for example, with a website at

http://www.actiontec.com/products/64.php and the information displayed is illustrated by the

partial screen shot below.




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       19.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

       20.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

       21.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                 COUNT II
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,651,369)

       22.     Plaintiff incorporates paragraphs 1 through 21 herein by reference.

       23.     This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       24.     Plaintiff is the owner by assignment of the ‘369 Patent with sole rights to enforce

the ‘369 Patent and sue infringers.

       25.     A copy of the ‘369 Patent, titled “System and Method for Presenting Information

about an Object on a Portable Electronic Device,” is attached hereto as Exhibit B.




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       26.     The ‘369 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

       27.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least Claim 1, of the ‘369 Patent by using and/or incorporating

Quick Response Codes (QR codes) in literature describing, accompanying, or otherwise

illustrating its products in a manner covered by one or more claims of the ‘369 Patent. Defendant

has infringed and continues to infringe the ‘369 Patent in violation of 35 U.S.C. § 271.

       28.     On information and belief, Defendant has, at least through internal testing, used

or incorporated QR codes in product literature, associating such QR codes with products and/or

services. One specific example of Defendant’s activity involves the use of QR codes in product

literature for its WCB3000N wireless network extender and Actiontec WiFi Assistant app.

       29.     For example, on information and belief, Defendant has at least internally tested

the functionality of its QR codes in connection with its product literature. On information and

belief, Defendant has captured a digital image of a QR code associated with product literature,

an example of which is shown below.




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        30.    Defendant’s product literature informs users that they can scan the QR through

their smartphone to obtain product information and download the Actiontec WiFi Assistant app.

On information and belief, at least through internal testing, Defendant has used a digital image

capturing device of a portable electronic device, such as the camera component of a smart phone

for example, to capture a digital image of the QR code associated with its products and product

literature.

        31.    On information and belief, Defendant’s capture of the digital image is processed

by scanning technology loaded onto the portable electronic device. The scanning technology

detects symbology (for example, a pattern within the QR code) associated with an object (for

example, the QR code itself). On information and belief the scanning technology is used to

decode the symbology to obtain a decode string. The decode string is sent to a remote server for

further processing. Based on the decode string, the remote server sends information associated

with the QR code, which is received by the user of the portable electronic device and displayed

on a display associated with the portable electronic device.



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       32.     For example, if a user scans a QR code associated with Defendant’s product

literature, scanning technology decodes the pattern of the QR code to obtain a decode string and

sends the decode string to a remote server. The server returns information associated with the

QR code. In this example, the information received by the user and displayed on the portable

electronic device is information about Defendant’s products, such as the Actiontec WiFi

Assistant app and Defendant’s network extenders, and includes a website providing additional

information about the products. The information is illustrated, for example, with a website at

http://www.actiontec.com/products/64.php and the information displayed is illustrated by the

partial screen shot below.




       33.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

       34.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

       35.     Plaintiff is in compliance with 35 U.S.C. § 287.



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                                 COUNT III
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,936,190)

       36.     Plaintiff incorporates paragraphs 1 through 35 herein by reference.

       37.     This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       38.     Plaintiff is the owner by assignment of the ‘190 Patent with sole rights to enforce

the ‘190 patent and sue infringers.

       39.     A copy of the ‘190 Patent, titled “System and Method for Presenting Information

about an Object on a Portable Electronic Device,” is attached hereto as Exhibit C.

       40.     The ‘190 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

       41.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least Claim 1, of the ‘190 Patent by using and/or incorporating

Quick Response Codes (QR codes) in literature describing, accompanying, or otherwise

illustrating its products in a manner covered by one or more claims of the ‘190 Patent. Defendant

has infringed and continues to infringe the ‘190 Patent in violation of 35 U.S.C. § 271.

       42.     On information and belief, Defendant has, at least through internal testing, used

or incorporated QR codes in product literature, associating such QR codes with products and/or

services. One specific example of Defendant’s activity involves the use of QR codes in product

literature for its WCB3000N wireless network extender and Actiontec WiFi Assistant app.

       43.     For example, on information and belief, Defendant has at least internally tested

the functionality of its QR codes in connection with its product literature. On information and

belief, Defendant has captured a digital image of a QR code associated with product literature,

an example of which is shown below.



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        44.    Defendant’s product literature informs users that they can scan the QR through

their smartphone to obtain product information and download the Actiontec WiFi Assistant app.

On information and belief, at least through internal testing, Defendant has used a digital image

capturing device of a portable electronic device, such as the camera component of a smart phone

for example, to capture a digital image of the QR code associated with its products and product

literature.

        45.    On information and belief, Defendant’s capture of the digital image is processed

by scanning technology loaded onto the portable electronic device. The scanning technology

detects symbology (for example, a pattern within the QR code) associated with an object (for

example, the QR code itself). On information and belief the scanning technology is used to

decode the symbology to obtain a decode string. The decode string is sent to a remote server for

further processing. Based on the decode string, the remote server sends information associated

with the QR code, which is received by the user of the portable electronic device and displayed

on a display associated with the portable electronic device.



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       46.     For example, if a user scans a QR code associated with Defendant’s product

literature, scanning technology decodes the pattern of the QR code to obtain a decode string and

sends the decode string to a remote server. The server returns information associated with the

QR code. In this example, the information received by the user and displayed on the portable

electronic device is information about Defendant’s products, such as the Actiontec WiFi

Assistant app and Defendant’s network extenders, and includes a website providing additional

information about the products. The information is illustrated, for example, with a website at

http://www.actiontec.com/products/64.php and the information displayed is illustrated by the

partial screen shot below.




       47.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

       48.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

       49.     Plaintiff is in compliance with 35 U.S.C. § 287.



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                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patents No. 8,424,752, No. 8,651,369,

and No. 8,936,190 (or, in the alternative, awarding Plaintiff running royalties from the time of

judgment going forward);

          (c)    Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

          (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.




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Dated: June 7, 2016                   Respectfully submitted,



                                      /s/ Jay Johnson
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                             EXHIBIT C
